Case 2:22-cv-00040-JRG-RSP Document 103 Filed 12/10/22 Page 1 of 6 PageID #: 1300




                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF TEXAS
                                        MARSHALL DIVISION

   HOWLINK GLOBAL LLC,                            §
                                                  §
                  Plaintiff,                      §
                                                  §         Case No. 2:22-cv-00040-JRG-RSP
                  v.                              §                    (LEAD CASE)
                                                  §
   AT&T, INC, et al.,                             §
                                                  §
                  Defendants.                     §

                          FIRST AMENDED DOCKET CONTROL ORDER

          Before the Court is the Joint Motion to Amend the Docket Control Order. Dkt.

  No. 101. After due consideration, the Court GRANTS the motion. It is therefore ORDERED

  that the following schedule of deadlines is in effect until further order of the Court:

   Original Deadline             New Deadline                           Event
   August 7, 2023              Unchanged          *Jury Selection - 9:00 a.m. in Marshall, Texas

   July 10, 2023               Unchanged          *If a juror questionnaire is to be used, an editable
                                                  (in Microsoft Word format) questionnaire shall be
                                                  jointly submitted to the Deputy Clerk in Charge
                                                  by this date.1

   July 7, 2023                Unchanged          *Pretrial Conference - 9:00 a.m. in Marshall,
                                                  Texas before Judge Roy Payne




         1
          The Parties are referred to the Court’s Standing Order Regarding Use of Juror
  Questionnaires in Advance of Voir Dire.
Case 2:22-cv-00040-JRG-RSP Document 103 Filed 12/10/22 Page 2 of 6 PageID #: 1301




    Original Deadline     New Deadline                          Event
   June 26, 2023        Unchanged        *Notify Court of Agreements Reached During
                                         Meet and Confer
                                         The parties are ordered to meet and confer on any
                                         outstanding objections or motions in limine. The
                                         parties shall advise the Court of any agreements
                                         reached no later than 1:00 p.m. three (3) business
                                         days before the pretrial conference.
   June 26, 2023        Unchanged        *File Joint Pretrial Order, Joint Proposed Jury
                                         Instructions, Joint Proposed Verdict Form,
                                         Responses to Motions in Limine, Updated
                                         Exhibit Lists, Updated Witness Lists, and
                                         Updated Deposition Designations
   June 14, 2023        Unchanged        Serve Objections to Rebuttal Pretrial Disclosures

   June 19, 2023        Unchanged        *File Notice of Request for Daily Transcript or
                                         Real Time Reporting.
                                         If a daily transcript or real time reporting of court
                                         proceedings is requested for trial, the party or
                                         parties making said request shall file a notice with
                                         the Court and e-mail the Court Reporter, Shawn
                                         McRoberts, at
                                         shawnmcroberts@txed.uscourts.gov.
   June 14, 2023        Unchanged        File Motions in Limine

                                         The parties shall limit their motions in limine to
                                         issues that if improperly introduced at trial would
                                         be so prejudicial that the Court could not alleviate
                                         the prejudice by giving appropriate instructions to
                                         the jury.
   June 7, 2023         Unchanged        Serve Objections to Pretrial Disclosures; and
                                         Serve Rebuttal Pretrial Disclosures
   May 22, 2023         Unchanged        Serve Pretrial Disclosures (Witness List,
                                         Deposition Designations, and Exhibit List) by the
                                         Party with the Burden of Proof
   May 15, 2023         Unchanged        *Response to Dispositive Motions (including
                                         Daubert Motions). Responses to dispositive
                                         motions that were filed prior to the dispositive
                                         motion deadline, including Daubert Motions,
                                         shall be due in accordance with Local Rule CV-
                                         7(e), not to exceed the deadline as set forth in this




                                           2
Case 2:22-cv-00040-JRG-RSP Document 103 Filed 12/10/22 Page 3 of 6 PageID #: 1302




   Original Deadline        New Deadline                              Event
                                                Docket Control Order.2 Motions for Summary
                                                Judgment shall comply with Local Rule CV-56.
   May 1, 2023           Unchanged              *File Motions to Strike Expert Testimony
                                                (including Daubert Motions)

                                                No motion to strike expert testimony (including a
                                                Daubert motion) may be filed after this date
                                                without leave of the Court.
   May 1, 2023           Unchanged              *File Dispositive Motions

                                                No dispositive motion may be filed after this date
                                                without leave of the Court.

                                                Motions shall comply with Local Rule CV-56
                                                and Local Rule CV-7. Motions to extend page
                                                limits will only be granted in exceptional
                                                circumstances. Exceptional circumstances
                                                require more than agreement among the parties.
   April 27, 2023        Unchanged              Deadline to Complete Expert Discovery

   April 13, 2023        Unchanged              Serve Disclosures for Rebuttal Expert Witnesses

   March 20, 2023        Unchanged              Serve Disclosures for Expert Witnesses by the
                                                Party with the Burden of Proof
   March 13, 2023        Unchanged              Comply with P.R. 3-7 (Opinion of Counsel
                                                Defenses)
   March 13, 2023        Unchanged              Deadline to Complete Fact Discovery and File
                                                Motions to Compel Discovery
   February 24, 2023     Unchanged              *Claim Construction Hearing- 9:00 a.m. in
                                                Marshall, Texas before Judge Roy Payne
   February 10, 2023     Unchanged              *Comply with P.R. 4-5(d) (Joint Claim
                                                Construction Chart)
   N/A                   February 9, 2023       If Plaintiff serves a reply expert declaration with
                                                its Reply Claim Construction Brief, then
                                                Defendants/Intervenors may file a sur-reply claim
                                                construction brief of no more than ten pages on
                                                this date. Defendants/Intervenors may also
                                                submit a sur-reply expert declaration in support of
                                                any such brief on this date.

         2
            The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s
  failure to oppose a motion in the manner prescribed herein creates a presumption that the party
  does not controvert the facts set out by movant and has no evidence to offer in opposition to the
  motion.” If the deadline under Local Rule CV 7(e) exceeds the deadline for Response to
  Dispositive Motions, the deadline for Response to Dispositive Motions controls.

                                                  3
Case 2:22-cv-00040-JRG-RSP Document 103 Filed 12/10/22 Page 4 of 6 PageID #: 1303




   Original Deadline        New Deadline                                 Event
   February 3, 2023       Unchanged              *Comply with P.R. 4-5(c) (Reply Claim
                                                 Construction Brief). Plaintiff may also submit a
                                                 reply expert declaration in support of its brief on
                                                 this date.
   January 27, 2023       Unchanged              Comply with P.R. 4-5(b) (Responsive Claim
                                                 Construction Brief). Defendants/Intervenors may
                                                 also submit an expert declaration in support of
                                                 their brief on this date.
   January 13, 2023       Unchanged              Comply with P.R. 4-5(a) (Opening Claim
                                                 Construction Brief) and Submit Technical
                                                 Tutorials (if any). Plaintiff may also submit an
                                                 expert declaration in support of its brief on this
                                                 date.

                                                 Good cause must be shown to submit technical
                                                 tutorials after the deadline to comply with P.R. 4-
                                                 5(a).
   January 13, 2023       Unchanged              Deadline to Substantially Complete Document
                                                 Production and Exchange Privilege Logs

                                                 Counsel are expected to make good faith efforts
                                                 to produce all required documents as soon as they
                                                 are available and not wait until the substantial
                                                 completion deadline.
   January 6, 2023        Unchanged              Comply with P.R. 4-4 (Deadline to Complete
                                                 Claim Construction Discovery)
   January 6, 2023        Unchanged              File Response to Amended Pleadings

   December 9, 2022       Unchanged              *File Amended Pleadings

                                                 It is not necessary to seek leave of Court to
                                                 amend pleadings prior to this deadline unless the
                                                 amendment seeks to assert additional patents.
   December 2, 2022       Unchanged              Comply with P.R. 4-3 (Joint Claim Construction
                                                 Statement) – except for P.R. 4-3(b)

  (*) indicates a deadline that cannot be changed without showing good cause. Good cause is
  not shown merely by indicating that the parties agree that the deadline should be changed.

                                ADDITIONAL REQUIREMENTS

      Mediation: While certain cases may benefit from mediation, such may not be appropriate
  for every case. The Court finds that the Parties are best suited to evaluate whether mediation will
  benefit the case after the issuance of the Court's claim construction order. Accordingly, the Court
  ORDERS the Parties to file a Joint Notice indicating whether the case should be referred for

                                                   4
Case 2:22-cv-00040-JRG-RSP Document 103 Filed 12/10/22 Page 5 of 6 PageID #: 1304




  mediation within fourteen days of the issuance of the Court's claim construction order. As a
  part of such Joint Notice, the Parties should indicate whether they have a mutually agreeable
  mediator for the Court to consider. If the Parties disagree about whether mediation is appropriate,
  the Parties should set forth a brief statement of their competing positions in the Joint Notice.

          Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
  Motions: For each motion, the moving party shall provide the Court with two (2) hard copies of
  the completed briefing (opening motion, response, reply, and if applicable, sur-reply), excluding
  exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
  must include the CM/ECF header. These copies shall be delivered to the Court within three (3)
  business days after briefing has completed. For expert-related motions, complete digital copies of
  the relevant expert report(s) and accompanying exhibits shall be submitted on a single flash drive
  to the Court. Complete digital copies of the expert report(s) shall be delivered to the Court no
  later than the dispositive motion deadline.

          Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
  include any arguments related to the issue of indefiniteness in their briefing, subject to
  the local rules' normal page limits.

          Lead Counsel: The Parties are directed to Local Rule CV-11(a)(l), which provides that
  "[o]n the first appearance through counsel, each party shall designate a lead attorney on the
  pleadings or otherwise." Additionally, once designated, a party's lead attorney may only be
  changed by the filing of a Motion to Change Lead Counsel and thereafter obtaining from the
  Court an Order granting leave to designate different lead counsel.

          Motions for Continuance: The following excuses will not warrant a continuance nor
  justify a failure to comply with the discovery deadline:

  (a) The fact that there are motions for summary judgment or motions to dismiss pending;

  (b) The fact that one or more of the attorneys is set for trial in another court on the same day,
  unless the other setting was made prior to the date of this order or was made as a special
  provision for the parties in the other case;

  (c) The failure to complete discovery prior to trial, unless the parties can demonstrate that it
  was impossible to complete discovery despite their good faith effort to do so.

          Amendments to the Docket Control Order ("DCO"): Any motion to alter any date on
  the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
  include a proposed order that lists all of the remaining dates in one column (as above) and the
  proposed changes to each date in an additional adjacent column (if there is no change for a date
  the proposed date column should remain blank or indicate that it is unchanged). In other words,
  the DCO in the proposed order should be complete such that one can clearly see all the
  remaining deadlines and the changes, if any, to those deadlines, rather than needing to also refer
  to an earlier version of the DCO.

         Proposed DCO: The Parties' Proposed DCO should also follow the format described
 above under "Amendments to the Docket Control Order ('DCO')."
                                              5
Case
 .   2:22-cv-00040-JRG-RSP Document 103 Filed 12/10/22 Page 6 of 6 PageID #: 1305




          Joint Pretrial Order: In the contentions of the Parties included in the Joint Pretrial
  Order, the Plaintiff shall specify all allegedly infringed claims that will be asserted at trial. The
  Plaintiff shall also specify the nature of each theory of infringement, including under which
  subsections of 35 U.S.C. § 271 it alleges infringement, and whether the Plaintiff alleges divided
  infringement or infringement under the doctrine of equivalents. Each Defendant shall indicate
  the nature of each theory of invalidity, including invalidity for anticipation, obviousness, subject-
  matter eligibility, written description, enablement, or any other basis for invalidity. The
  Defendant shall also specify each prior art reference or combination of references upon which
  the Defendant shall rely at trial, with respect to each theory of invalidity. The contentions of the
  Parties may not be amended, supplemented, or dropped without leave of the Court based upon a
  showing of good cause.
          SIGNED this 3rd day of January, 2012.
        SIGNED this 10th day of December, 2022.




                                                       ____________________________________
                                                       ROY S. PAYNE
                                                       UNITED STATES MAGISTRATE JUDGE




                                                   6
